Case 3:18-cv-00296-LRH-VPC Document 25-8 Filed 07/31/18 Page 1 of 2




                       EXHIBIT H
            Case 3:18-cv-00296-LRH-VPC Document 25-8 Filed 07/31/18 Page 2 of 2
                    production number, which is physically impossible.

                       83             211            3.3K

                    S Padival @S_Padival · Jul 5
                       . Someone told me her coverage/behaviour changed after an interview with
                                                                                                      
                    Jim Chanos. Coincidence?

                       7              7              183

                                
                    Elon Musk   @elonmusk · Jul 5                                                    
                    Sounds very sketchy if true. @lopezlinette, is it possible you’re serving as an
                    inside trading source for one of Tesla’s biggest short-sellers? An ex-Tesla
                    employee just went on record formally claiming you bribed him & he sent you
                    valuable Tesla IP in exchange. Is this true?

                       117            184            1.4K

                    stef @stetopinini · Jul 5
                    Hey @lopezlinette, your silence is deafening. Shouldn’t take much to deny such
                                                                                                      
                    allegations no?

                       1              5              190



Elon Musk        Elon Musk   
                    @elonmusk
                                               © 2018 Twitter
                                             About Help Center
                                                                                    Follow            
@elonmusk
                                            Terms Privacy policy

   Joined June
                                              Cookies Ads info
                2009to @stetopinini @S_Padival @lopezlinette
           Replying

           Indeed, very simple question. To be specific:
           @lopezlinette, did you compensate or
           promise to compensate Martin Tripp for
           inside information about Tesla? Did he, under
           that inducement, provide you with
           exaggerated negative info, which you printed,
           but turned out to be untrue?
           10:26 AM - 5 Jul 2018


           103 Retweets 1,089 Likes


              72            103             1.1K



                    Scott Wainner     @scottwww · Jul 5                                             
                    Replying to @elonmusk @stetopinini and 2 others
                    I wonder where else she gets story ideas?
